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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )                 4:09CR3103
       vs.                                      )
                                                )                    ORDER
KELLEY LYNNE EWINGS,                            )
                                                )
                     Defendant.                 )


      This matter is before the court on the defendant's Motion to Continue Trial (Doc. 33).
Based on the showing made by the defendant, trial will be continued one week.

       IT IS ORDERED that the government's Motion to Continue Trial (Doc. 125) is
granted, as follows:

       1. The jury trial now set for November 3, 2009 is continued to Tuesday, November
10, 2009.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A) & (B), the court finds that the ends
of justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting of
this motion, that is, the time between November 3, 2009 and November 10, 2009,shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because counsel need more time to prepare the case preparation, taking into account
the exercise of due diligence. The failure to grant additional time might result in a
miscarriage of justice.

       DATED November 2, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
